     Case 3:02-cv-01116-EBB           Document 126         Filed 04/10/2006       Page 1 of 2



                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

SARAIYA SOLOMON,                              :
                                              :
       Plaintiff,                             :       CASE NO.: 3:02-cv-1116(EBB)
                                              :
       v.                                     :
                                              :
HARTFORD HOSPITAL,                            :
GLADYS M. CIASCHINI,                          :
SUSAN A. O'CONNELL, and                       :
SANDRA NILES,                                 :
                                              :
       Defendants.                            :       APRIL 10, 2006

            PLAINTIFF’S THIRD MOTION FOR EXTENSION OF TIME RE:
                    MOTION FILED PURSUANT TO RULE 60

       The Plaintiff, Saraiya Solomon, by and through her undersigned counsel, hereby moves

for a three (3) day extension of time from April 10, 2006, through April 13, 2006, to reply to

Defendant’s Opposition to Motion for Relief from Judgment or Order.

PROCEDURAL BACKGROUND

       1. Plaintiff filed a Motion for Relief from Judgment or Order with a Declaration by

Rachel M. Baird in support dated December 30, 2005, and entered January 3, 2006. (doc. ##

116-118.)

       2. Defendants, following a thirty (30) day continuance of time, filed an opposition brief

to Plaintiff’s Motion for Relief or Judgment on February 24, 2006. (doc. # 122.)

       3. Plaintiff’s reply to Defendants’ opposition was due on March 6, 2006, and then April

5, 2006, following the Court’s grant of Plaintiff’s first motion for extension of time.

       4. Plaintiff filed a motion for extension of time on April 3, 2006, requesting until April

10, 2006, to file a reply and presently requests a final continuance of three additional days to

complete the reply and file it in New Haven on April 13, 2006.
     Case 3:02-cv-01116-EBB           Document 126          Filed 04/10/2006       Page 2 of 2



GOOD CAUSE FOR EXTENSION

       5. Plaintiff’s counsel requests a final continuance of three (3) days due to the press of

business and necessity of appearing in Court on criminal matters on April 10 and April 11, 2006,

following trial during the week of April 3, 2006.

       6. Undersigned counsel represents that opposing counsel was contacted on April 10,

2006, and does not object to the instant request for extension of time to file a reply.



                                                          PLAINTIFF
                                                          SARAIYA SOLOMON


                                                    BY:   /s/ Rachel M. Baird
                                                          Rachel M. Baird
                                                          (ct12131)
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                                CERTIFICATION OF SERVICE

       I HEREBY CERTIFY THAT the foregoing Third Motion for Extension of Time was

mailed, first-class, postage-paid on April 10, 2006, to the following counsel of record:

Benjamin M. Wattenmaker
Shipman & Goodwin LLP
1 Constitution Plz
Hartford CT 06103-1919



                                                      /s/ Rachel M. Baird
                                                      Rachel M. Baird




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